139 F.3d 907
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Josephino PAANO;  Josephine Reyes Paano, Petitioners,v.IMMIGRATION AND NATURALIZATION SERVICE, Respondent.
    No. 9770025.INS Nos. Ahf-gaw-bcd, Ahq-hep-woq.
    United States Court of Appeals, Ninth Circuit.
    Decided Feb. 23, 1998.Submitted February 9, 1998.**
    
      On Petition for Review of an Order of the Board of Immigration Appeals.
      Before PREGERSON, CANBY, and LEAVY, Circuit Judges.
    
    
      1
      MEMORANDUM*
    
    
      2
      Josephino Paano and his wife Josephine Reyes Paano, natives and citizens of the Philippines, petition for review of the Board of Immigration Appeals' (BIA) decision affirming the denial of their applications for suspension of deportation under 8 U.S.C. § 1254(a).  Because the BIA's final order of deportation was entered on December 3, 1996, the transitional rules of the Illegal Immigration Reform and Immigrant Responsibility Act of 1996 (IIRIRA) apply.  See Kalaw v. INS, Nos. 97-70106, 97-70294, 97-70333, slip op. 14093, 14098-99 (9th Cir.  Dec. 1, 1997).  The BIA determined in its discretion that the Paanos failed to demonstrate extreme hardship.  We therefore lack jurisdiction.  See IIRIRA § 309(c)(4)(E);  Kalaw, slip op. at 14101-03.
    
    
      3
      PETITION FOR REVIEW DISMISSED.
    
    
      
        **
         The panel unanimously finds this case suitable for decision without oral argument.  See Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    